         Case 8:22-cr-00209-PJM Document 45 Filed 02/29/24 Page 1 of 3



                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND
                            SOUTHERN DIVISION

 UNITED STATES OF AMERICA                    *

 v.                                          *        Crim. No.: PJM-22-0209


 NICHOLAS ROSKE                              *

              *      *     *      *      *       *    *      *         *   *

                                  STATUS REPORT

       Undersigned counsel writes to provide the Court with an update on the status

 of Nicholas Roske’s case. The parties’ discussions regarding a pretrial resolution are

 ongoing. To permit these discussions to continue, the parties request they be permitted

 to provide a further status report on or before March 29, 2024.

       The defense consents to tolling the speedy trial clock and excluding this period

 of delay pursuant to 18 U.S.C. § 3161(h)(7)(A) as the ends of justice are served by

 permitting the parties a delay in light of the ongoing discussions.

      WHEREFORE, Mr. Roske, without objection from the government, requests that

the parties be permitted to file a further status update on or after March 29, 2024.




                                             1
Case 8:22-cr-00209-PJM Document 45 Filed 02/29/24 Page 2 of 3




                           Respectfully submitted,

                           JAMES WYDA
                           Federal Public Defender
                             for the District of Maryland

                           /s/

                           Andrew R. Szekely
                           Assistant Federal Public Defender
                           100 S. Charles Street, Tower II
                           Suite 900
                           Baltimore, MD 21201
                           Tel: (410) 962-3962
                           Fax: (410) 962-3976
                           Email: andrew_szekely@fd.org




                                 2
Case 8:22-cr-00209-PJM Document 45 Filed 02/29/24 Page 3 of 3




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